
292 S.W.3d 613 (2009)
Richard William HARPER, Appellant,
v.
STATE of Missouri, Respondent.
No. WD 69686.
Missouri Court of Appeals, Western District.
September 29, 2009.
S. Kate Webber, Kansas City, MO, for appellant.
Shaun J. Mackelprang, Esq., and Robert Bartholomew, Esq., Jefferson City, MO, for respondent.
Before JAMES E. WELSH, P.J, and VICTOR C. HOWARD and ALOK AHUJA, JJ.

ORDER
PER CURIAM:
Richard Harper appeals the circuit court's denial of his motion for post-conviction relief under Rule 24.035 after an evidentiary hearing. After pleading guilty to driving while intoxicated, § 577.010, RSMo 2000, Harper was sentenced as a persistent offender pursuant to § 577.023 to three years in the Missouri Department of Corrections. Harper now claims that he received ineffective assistance of counsel prior to pleading guilty, because his attorney "erroneously advised him that if he pleaded guilty, he would only have to serve a mandatory minimum sentence of 15 percent, even though he had a prior prison commitment." Harper claims that as a result of this misadvice his guilty plea was not knowing, intelligent, and voluntary.
We affirm. Because a published opinion would have no precedential value, a memorandum *614 setting forth the reasons for this order has been provided to the parties. Rule 84.16(b).
